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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION




  TRAFFIX USA, INC.,

                       Plaintiff,

       vs.

                                                              Case No. 1:21-CV-03625
  ALTEX TRANSPORTATION, INC.,

                       Defendants.




   PLAINTIFF’S RESPONSES TO DEFENDANT ALTEX TRANSPORTATION, INC.’S
                        AFFIRMATIVE DEFENSES

         NOW comes the Plaintiff Traffix USA, Inc., by and through their attorney, Rubenstein

 Business Law, and for their response to Defendant Altex Transportation, Inc.’s Affirmative

 Defenses.



                               FIRST AFFIRMATIVE DEFENSE:

                                    FAILURE TO STATE A CLAIM
RESPONSE: Denied. Altex is in breach of the Contract and Second Contract, as Altex was

responsible for the safety of the cargo while it was in their possession, and violated the

Contract and Second Contract by Trans-loading without written approval.



                              SECOND AFFIRMATIVE DEFENSE:

                                NO SPECIAL/CONSEQUENTIAL
                                        DAMAGES
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RESPONSE: Denied. Altex's negligence proximately caused the breach by failing to act in a

reasonable manner to safeguard the cargo.




                                   THIRD AFFIRMATIVE DEFENSE:

                                      NO BREACH OF CONTRACT
RESPONSE: Denied. Altex is in breach of the Contract and Second Contract, as Altex was

responsible for the safety of the cargo while it was in their possession, and violated the Contract and

Second Contract by Trans-loading without written approval.




                             FOURTH AFFIRMATIVE DEFENSE:

                                        NO VIOLATION
RESPONSE: Denied. Altex is in breach of the Contract and Second Contract, as Altex was

responsible for the safety of the cargo while it was in their possession, and violated the Contract and

Second Contract by Trans-loading without written approval.




                               FIFTH AFFIRMATIVE DEFENSE:

                                  LIMITATION OF LIABILITY

RESPONSE: Denied. Altex has not pled any limits to liability.


                               SIXTH AFFIRMATIVE DEFENSE:

RESPONSE: Denied. Altex is in breach of the Contract and Second Contract, as Altex was

responsible for the safety of the cargo while it was in their possession, and violated the Contract and

Second Contract by Trans-loading without written approval.



                             SEVENTH AFFIRMATIVE DEFENSE:
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                                         NO NOTICE OF CLAIM
RESPONSE: Denied. Plaintiff notified Altex of the damaged cargo before filing the Complaint.

Altex is in breach of the Contract and Second Contract, as Altex was responsible for the safety of

the cargo while it was in their possession, and violated the Contract and Second Contract by Trans-

loading without written approval.



                                EIGHTH AFFIRMATIVE DEFENSE:

                                  NO STATUTE OF LIMITATIONS


RESPONSE: Denied. Altex has not pled any statute of limitations.



                                 NINTH AFFIRMATIVE DEFENSE:

                                            THIRD PARTIES

RESPONSE: Denied. Altex's negligence proximately caused the breach by failing to act in a

reasonable manner to safeguard the cargo.


                                 TENTH AFFIRMATIVE DEFENSE:

                               FAILURE TO MITIGATE DAMAGES

RESPONSE: Denied. Defendant has not provided any evidence/facts to support this defense. Plaintiff

made best efforts to mitigate damages.




                              ELEVENTH AFFIRMATIVE DEFENSE:

                                         LACK OF STANDING

RESPONSE: Denied. Defendant has not provided any evidence/facts to support this defense. Plaintiff has

standing to bring this action as Defendant’s actions caused harm to Plaintiff.
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                             TWELFTH AFFIRMATIVE DEFENSE:

                                    CARMACK AMENDMENT


RESPONSE: Denied. Defendant has not provided any evidence/facts to support this defense. Defendant

moved to Dismiss the Complaint on these grounds, and the Motion was denied by this Court.




                          THIRTEENTH AFFIRMATIVE DEFENSE:

                                 RESERVATION OF DEFENSES



RESPONSE: Denied. Defendant has not provided any evidence/facts to support this defense.




                                                                              Respectfully submitted,


                                                                              s/David Rubenstein
                                                                               Attorneys for Plaintiff
                                                                            Rubenstein Business Law

 David Rubenstein, Esq.
 Rubenstein Business Law
 Counsel for Plaintiff
 30 S. Wacker Dr., 22nd Flr.
 Chicago, IL 60606
